           Case 1:15-vv-00888-UNJ Document 31 Filed 05/13/16 Page 1 of 7




        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-888V
                                     Filed: March 21, 2016
                                         UNPUBLISHED

****************************
IRENE AKAHI,                           *
                                       *
                   Petitioner,         *      Joint Stipulation on Damages;
 v.                                    *      Influenza (“Flu”) Vaccination;
                                       *      Guillain-Barre Syndrome (“GBS”);
SECRETARY OF HEALTH                    *      Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                    *
                                       *
                   Respondent.         *
                                       *
****************************
Anne Carrion Toale, Maglio, Christopher, and Toale, Washington, DC, for petitioner.
Sarah Christina Duncan, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

Dorsey, Chief Special Master:

        On August 17, 2015, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that she suffered Guillain-Barre Syndrome (“GBS”) as
a result of her November 26, 2013 influenza (“flu”) vaccination. Petition at 1-2;
Stipulation, filed March 18, 2016, at ¶¶ 2, 4. Petitioner further alleges her “vaccine
related injuries have lasted more than six months.” Petition, at ¶ 6; Stipulation, at ¶ 4.
Additionally, petitioner indicates that neither she, nor any other party, has brought an
action, or received an award or settlement for her injuries. Petition, at ¶¶ 8-9;
Stipulation, at ¶ 5. “Respondent denies that the influenza immunization is the cause of
petitioner’s alleged GBS or any other injury or condition.” Stipulation, at ¶ 6.

       Nevertheless, on March 18, 2016, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. The undersigned

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012)(Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
           Case 1:15-vv-00888-UNJ Document 31 Filed 05/13/16 Page 2 of 7



finds the stipulation reasonable and adopts it as the decision of the Court in awarding
damages, on the terms set forth therein.

        The parties stipulate that petitioner shall receive the following compensation:

            A. A lump sum of $95,000.00 in the form of a check payable to
               petitioner; and

            B. A lump sum of $114.61, which amount represents reimbursement of
               a Medicaid lien, in the form of a check payable jointly to petitioner
               and

                                               State of Nevada
                                  Department of Health and Human Services
                                 Division of Health Care Financing and Policy
                                         Change Healthcare TPL Unit
                                               P.O. Box 148850
                                           Nashville, TN 37214-8850

                Petitioner agrees to endorse this check to the State of Nevada,
                Department of Health and Human Services.

Stipulation, at ¶ 8. This amount represents compensation for all items of damages that
would be available under 42 U.S.C. § 300aa-15(a). Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.
                                                    2
Case 1:15-vv-00888-UNJ Document 31 Filed 05/13/16 Page 3 of 7
Case 1:15-vv-00888-UNJ Document 31 Filed 05/13/16 Page 4 of 7
Case 1:15-vv-00888-UNJ Document 31 Filed 05/13/16 Page 5 of 7
Case 1:15-vv-00888-UNJ Document 31 Filed 05/13/16 Page 6 of 7
Case 1:15-vv-00888-UNJ Document 31 Filed 05/13/16 Page 7 of 7
